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          IN THE UNITED STATES BANKRUPTCY COURT
           FOR THE SOUTHERN DISTMCT OF ARIZONA


                                                       CASE NUMBER: 04:24-bk-09671-BMW


    IN RE: ANTHONY LEO MONTEZ ESTATE CHAPTER 13
    Debtor-in-possession, et al.




        MOTION FOR RULE 2004 EXAMINATION AND DOCUMENT
                          PRODUCTION

    NOW COMES the Debtor in Possession and respectfully requests this Court s authorization
    to serve a Rule 2004 subpoena for examination and document production directed to:

    LLS.Bank

    Ally Financial




    SCOPE AND PURPOSE
    The scope of this request includes:

    1. Examination of any party holding, transferring, servicing, or pledging a promissory note
    issued by Debtor;


    2. Production of all documents evidencing:

       • Custodial possession

       • Federal Reserve Discount Window pledges

       • Collateral forms under the BIG Program

       • Assignments and UCC filings




    Case 4:24-bk-09671-BMW         Doc 74 Filed 03/26/25 Entered 03/27/25 10:02:38                Desc
                                   Main Document    Page 1 of 2
       Securitization and accounting ledgers




JUSTIFICATION
Rule 2004 grants wide authority to investigate any matter related to the administration of the
estate. The Debtor asserts that the above-named parties have withheld federally relevant
documents, thereby obstructing full disclosure and estate equity resolution.




PRAYER FOR RELIEF
Debtor respectfully demands:

1. That the Court enter an Order approving the issuance of subpoenas for Rule 2004
Examination and Document Production.


2. That failure to comply result in appropriate sanctions and findings of default or obstruction.



Respectfully presented on the 26th of March 2025.

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Anthony-Leo: Montez.
Debtor in Possession ^
On behalf of the ANTHONY LEO MONTEZ ESTATE
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With Prejudice. Without Recourse.




Case 4:24-bk-09671-BMW         Doc 74 Filed 03/26/25 Entered 03/27/25 10:02:38               Desc
                               Main Document    Page 2 of 2
